       Case 4:18-cv-01827 Document 4 Filed in TXSD on 06/06/18 Page 1 of 19



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION


 WARREN BANE

                Plaintiff,
                                                                 CIVIL ACTION NO.
 VS.
                                                                      4:18-cv-1827
 STATE CONTINUING EDUCATION, LLC,

                Defendant


             PLAINTIFF’S FIRST AMENDED CLASS ACTION COMPLAINT

        WARREN BANE, (“Plaintiff”), individually and on behalf of all other persons similarly

situated, brings this Class Action Complaint and Demand for Jury Trial (“Complaint”) against

Defendant STATE CONTINUING EDUCATION, LLC, (sometimes referred to herein as “Defendant”)

to stop Defendant’s practice of making unsolicited telemarketing calls to the telephones of

consumers nationwide, and to obtain redress for all persons injured by their conduct. Plaintiff, for

his Complaint, alleges as follows upon personal knowledge as to himself and his own acts and

experiences, and, as to all other matters, upon information and belief, including investigation

conducted by his attorney.

                                       INTRODUCTION

        1.     Defendant is an educational institution whose mission is to provide continuing

education programs to the public. In an effort to solicit potential customers, Defendant recruited,

or employed call centers who began making telephone calls, en masse, to consumers across the

country beginning as early as 2016. On information and belief, Defendant and or its agents

purchase “leads” containing consumers’ contact information and create electronic databases from


PLAINTIFF’S ORIGINAL COMPLAINT                                                          PAGE 1 OF 19
      Case 4:18-cv-01827 Document 4 Filed in TXSD on 06/06/18 Page 2 of 19



which Defendant and or its agents makes automated calls.

        2.      Defendant conducted wide scale telemarketing campaigns and repeatedly made

unsolicited calls to consumers’ telephones—whose numbers appear on the National Do Not Call

Registry—without consent, all in violation of the Telephone Consumer Protection Act, 47 U.S.C.

§ 227 (the “TCPA”).

        3.      The TCPA was enacted to protect consumers from unsolicited telephone calls

exactly like those alleged in this case. In response to Defendant’s unlawful conduct, Plaintiff files

the instant lawsuit and seek an injunction requiring Defendant to cease all unsolicited telephone

calling activities to consumers registered on the National Do Not Call Registry and an award of

statutory damages to the members of the Class under the TCPA up to $500.00 per violation,

together with court costs, reasonable attorneys’ fees, and treble damages (for knowing and/or

willful violations).

        4.      By making the telephone calls at issue in this Complaint, Defendant caused Plaintiff

and the members of a putative Class of consumers (defined below) actual harm, including the

aggravation, nuisance, and invasion of privacy that necessarily accompanies the receipt of

unsolicited and harassing telephone calls, as well as the monies paid to their carriers for the receipt

of such telephone calls.

        5.      Plaintiff brings this class action against Defendant to secure redress because

Defendant willfully violated the TELEPHONE CONSUMER PROTECTION ACT (“TCPA”), 47 U.S.C §

227, et seq. by causing unsolicited calls to be made to Plaintiff’s and other class members’

telephones through the use of an auto-dialer and/or artificial or pre-recorded voice message.

                                             PARTIES

        6.      Plaintiff WARREN BANE is a natural person and citizen of Houston, Texas.


PLAINTIFF’S ORIGINAL COMPLAINT                                                            PAGE 2 OF 19
      Case 4:18-cv-01827 Document 4 Filed in TXSD on 06/06/18 Page 3 of 19



       7.      Defendant STATE CONTINUING EDUCATION, LLC is a corporation organized and

existing under the laws of the State of Texas with its headquarters located in McKinney, Texas.

Defendant may be served with process through service upon its registered agent, Stephen Trussell,

at 2503 Sunny Meadows, McKinney, Texas, 74070.

       8.      Plaintiff does not yet know the identity of Defendant’s employees/agents that had

direct, personal participation in or personally authorized the conduct found to have violated the

statute, and were not merely tangentially involved. They will be named, as numerous District

Courts have found that individual officers/principals of corporate entities may be personally liable

(jointly and severally) under the TCPA if they had direct, personal participation in or personally

authorized the conduct found to have violated the statute, and were not merely tangentially

involved. Texas v. American Blastfax, Inc., 164 F.Supp.2d 892, 899 (W.D. Tex. 2001) (“American

Blastfax”); Sandusky Wellness Center, LLC v. Wagner Wellness, Inc., 2014 WL 1333472, at * 3

(N.D. Ohio March 28, 2014); Maryland v. Universal Elections, 787 F.Supp.2d 408, 415-16 (D.Md.

2011) (“Universal Elections”); Baltimore-Washington Tel Co. v. Hot Leads Co., 584 F.Supp.2d

736, 745 (D.Md. 2008); Covington & Burling v. Int’l Mktg. & Research, Inc., 2003 WL 21384825,

at *6 (D.C.Super Apr. 17, 2003); Chapman v. Wagener Equities, Inc. 2014 WL 540250, at *16-17

(N.D.Ill. Feb. 11, 2014); Versteeg v. Bennett, Deloney & Noyes, P.C., 775 F.Supp.2d 1316, 1321

(D.Wy.2011) (“Versteeg”). Upon learning of the identities of said individuals, Plaintiff will move

to amend to name the individuals as DefendantS.

       9.      Whenever in this complaint it is alleged that Defendant committed any act or

omission, it is meant that the Defendant’s officers, directors, vice-principals, agents, servants, or

employees, subsidiaries, or affiliates committed such act or omission and that at the time such act

or omission was committed, it was done with the full authorization, ratification or approval of


PLAINTIFF’S ORIGINAL COMPLAINT                                                           PAGE 3 OF 19
      Case 4:18-cv-01827 Document 4 Filed in TXSD on 06/06/18 Page 4 of 19



Defendant, or was done in the routine normal course and scope of employment of the Defendant’s

officers, directors, vice-principals, agents, servants, or employees.

                                   JURISDICTION & VENUE

        10.    This Court has subject matter jurisdiction under 28 U.S.C. § 1331, as this action

arises under the TCPA, which is a federal statute.

        11.    The Court has personal jurisdiction over Defendant because it conducts significant

business in this District, is headquartered in this District, and the unlawful conduct alleged in this

Complaint occurred in, was directed to, and/or emanated from this District.

        12.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because the

wrongful conduct giving rise to this case occurred in, was directed to, and/or emanated from this

District.

                              LEGAL BASIS FOR THE CLAIMS

        13.    In 1991, Congress enacted the TCPA to regulate the explosive growth of the

telemarketing industry. In doing so, Congress recognized that “[u]nrestricted telemarketing…can

be an intrusive invasion of privacy…” Telephone Consumer Protection Act of 1991, Pub. L. No.

102-243 § 2(5) (1991) (codified at 47 U.S.C. § 227).

        14.    Specifically, the TCPA restricts telephone solicitations (i.e., telemarketing) and the

use of automated telephone equipment. The TCPA limits the use of automatic dialing systems,

artificial or prerecorded voice messages, SMS text messages, and fax machines. It also specifies

several technical requirements for fax machines, autodialers, and voice messaging systems—

principally with provisions requiring identification and contact information of the entity using the

device to be contained in the message.




PLAINTIFF’S ORIGINAL COMPLAINT                                                           PAGE 4 OF 19
        Case 4:18-cv-01827 Document 4 Filed in TXSD on 06/06/18 Page 5 of 19



         15.     In its initial implementation of the TCPA rules, the FCC included an exemption to

its consent requirement for prerecorded telemarketing calls. Where the caller could demonstrate

an “established business relationship” with a customer, the TCPA permitted the caller to place pre-

recorded telemarketing calls to residential lines. The new amendments to the TCPA, effective

October 16, 2013, eliminate this established business relationship exemption. Therefore, all pre-

recorded telemarketing calls to residential lines and wireless numbers violate the TCPA if the

calling party does not first obtain express written consent from the called party.

         16.     As of October 16, 2013, unless the recipient has given prior express written

consent,1 the TCPA and Federal Communications Commission (FCC) rules under the TCPA

generally:

                 ●   Prohibits solicitors from calling residences before 8 a.m. or after 9 p.m.,

                     local time.

                 ●   Requires solicitors provide their name, the name of the person or entity

                     on whose behalf the call is being made, and a telephone number or

                     address at which that person or entity may be contacted.

                 ●   Prohibits solicitations to residences that use an artificial voice or a

                     recording.

                 ●   Prohibits any call or text made using automated telephone equipment or

                     an artificial or prerecorded voice to a wireless device or telephone.




    1
       Prior express written consent means “an agreement, in writing, bearing the signature of the person
called that clearly authorizes the seller to deliver or cause to be delivered to the person called advertisements
or telemarketing messages using an automatic telephone dialing system or an artificial or prerecorded voice,
and the telephone number to which the signatory authorizes such advertisements or telemarketing messages
to be delivered. 47 C.F.R. § 64.1200(f)(8).

PLAINTIFF’S ORIGINAL COMPLAINT                                                                     PAGE 5 OF 19
      Case 4:18-cv-01827 Document 4 Filed in TXSD on 06/06/18 Page 6 of 19



               ●   Prohibits any call made using automated telephone equipment or an

                   artificial or prerecorded voice to an emergency line (e.g., “911”), a

                   hospital emergency number, a physician’s office, a hospital/health care

                   facility/elderly room, a telephone, or any service for which the recipient

                   is charged for the call.

               ●   Prohibits autodialed calls that engage two or more lines of a multi-line

                   business.

               ●   Prohibits unsolicited advertising faxes.

               ●   Prohibits certain calls to members of the Do-Not-Call Registry

       17.     Furthermore, in 2008, the FCC held that “a creditor on whose behalf an autodialed

or prerecorded message call is made to a wireless number bears the responsibility for any violation

of the Commission’s rules.” In re Rules and Regulations Implementing the Telephone Consumer

Protection Act, Declaratory Ruling on Motion by ACA International for Reconsideration, 23 FCC

Rcd. 559, 565, ¶ 10 (Jan. 4, 2008); Birchmeier v. Caribbean Cruise Line, Inc., 2012 WL 7062748

(Dec. 31, 2012).

       18.     Accordingly, the entity can be liable under the TCPA for a call made on its behalf,

even if the entity did not directly place the call. Under those circumstances, the entity is deemed

to have initiated the call through the person or entity.

       19.     There are just a handful of elements need to be proven for violations of the Do Not

Call provision of the TCPA.

A.     DO NOT CALL VIOLATIONS OF THE TCPA

       20.     More Than One Call within Any 12 Month Period. 47 U.S.C. § 227(c) provides that

any “person who has received more than one telephone call within any 12-month period by or on


PLAINTIFF’S ORIGINAL COMPLAINT                                                          PAGE 6 OF 19
      Case 4:18-cv-01827 Document 4 Filed in TXSD on 06/06/18 Page 7 of 19



behalf of the same entity in violation of the regulations prescribed under this subsection may”

bring a private action based on a violation of said regulations, which were promulgated to protect

telephone subscribers’ privacy rights to avoid receiving telephone solicitations to which they

object.

          21.    Calls to Residential Lines on the Do Not Call List. The TCPA’s implementing

regulation—47 C.F.R. § 64.1200(c)—provides that “[n]o person or entity shall initiate any

telephone solicitation” to “[a] residential telephone subscriber who has registered his or her

telephone number on the national do-not-call registry of persons who do not wish to receive

telephone solicitations that is maintained by the federal government.” See 47 C.F.R. § 64.1200(c).

          22.    Or, Wireless Lines on the Do Not Call List. Owners of wireless telephone numbers

(aka mobile or cellular phones) receive the same protections from the Do Not Call provision as

owners or subscribers of wireline (“landline”) phone numbers. 47 C.F.R. § 64.1200(e), provides

that 47 C.F.R. §§ 64.1200(c) and (d) “are applicable to any person or entity making telephone

solicitations or telemarketing calls to wireless telephone numbers to the extent described in the

Commission’s Report and Order, CG Docket No. 02-278, FCC 03-153, ‘Rules and Regulations

Implementing the Telephone Consumer Protection Act of 1991,’” which the Report and Order, in

turn, provides as follows:

          The Commission’s rules provide that companies making telephone solicitations to
          residential telephone subscribers must comply with time of day restrictions and
          must institute procedures for maintaining do-not-call lists. For the reasons
          described above, we conclude that these rules apply to calls made to wireless
          telephone numbers. We believe that wireless subscribers should be afforded the
          same protections as wireline subscribers.

          23.    The Affirmative Defense of Prior Express Consent. The Ninth Circuit has defined

“express consent” to mean “clearly and unmistakably stated.” Satterfield v. Simon & Schuster, Inc.,

569 F.3d 946, 955 (9th Cir. 2009) (“Satterfield”)). “Prior express consent is an affirmative defense

PLAINTIFF’S ORIGINAL COMPLAINT                                                          PAGE 7 OF 19
      Case 4:18-cv-01827 Document 4 Filed in TXSD on 06/06/18 Page 8 of 19



for which the defendant bears the burden of proof.” See Grant v. Capital Management Services, L.P.,

2011 WL 3874877, at *1, n.1. (9th Cir. Sept. 2, 2011) (“express consent is not an element of a TCPA

plaintiff’s prima facie case, but rather is an affirmative defense for which the defendant bears the

burden of proof”); see also Robbins v. Coca-Cola Company, No. 13-cv-132, 2013 WL 2252646, at

*2 (S.D. Cal. May 22, 2013).

                                  FACTUAL ALLEGATIONS

       24.     Defendant is an education company. In an effort to solicit potential customers,

Defendant obtained lists of potential customers from various sources. It proceeded to contact

people without having actual obtained consent to contact consumers on their cellular phones or

notwithstanding consumers’ registration with the Do Not Call registry. In Defendant’s overzealous

attempt to market its services, it placed phone calls to consumers who never provided consent to

call and to consumers having no relationship with Defendant. Worse yet, Defendant placed

repeated and unwanted calls to consumers whose phone numbers are listed on the National Do Not

Call Registry. Consumers place their phone numbers on the Do Not Call Registry for the express

purpose of avoiding unwanted telemarketing calls like those alleged here.

       25.     Defendant knowingly made these telemarketing calls without the prior express

written consent of the call recipients, and knowingly continue to call them after requests to stop.

As such, Defendant not only invaded the personal privacy of Plaintiff and members of the putative

Class, but also intentionally and repeatedly violated the TCPA.

       26.     On or about December 14, 2004, Plaintiff registered his cellular phone number with

the area code (512) and ending in 8933 with the National Do Not Call Registry.

       27.     In February of 2016, Plaintiff received calls on his cellular telephone from 972-

954-8030 offering educational classes. Plaintiff confirmed this number belonged to Defendant.


PLAINTIFF’S ORIGINAL COMPLAINT                                                          PAGE 8 OF 19
      Case 4:18-cv-01827 Document 4 Filed in TXSD on 06/06/18 Page 9 of 19



       28.     Plaintiff is the regular carrier and exclusive user of the telephone assigned the

number ending in 8933. The number is assigned to a cellular telephone service for which Plaintiff

is charged for incoming calls pursuant to 47 U.S.C. § 227(b)(1).

       29.     Plaintiff never had a business relationship with Defendant.

       30.     Plaintiff never provided Defendant with prior express consent to contact him on his

phone via a text message or a telephone call.

       31.     Nonetheless, Defendant called Plaintiff at least two (2) times on his phone during

a twelve-month period. Defendant always tried to sell Plaintiff educational classes.

       32.     Plaintiff requested that Defendant not call his number.

       33.     Defendant’s unsolicited telemarketing calls caused Plaintiff aggravation and

occupied his telephone line.

       34.     Plaintiff has reason to believe Defendant called thousands of telephone customers

listed on the DNC to market their products and services.

       35.     Plaintiff’s overriding interest is ensuring Defendant ceases all illegal telemarketing

practices and compensates all members of the Plaintiff Class for invading their privacy in the

manner the TCPA was contemplated to prevent.

       36.     In order to redress injuries caused by Defendant’s violations of the TCPA, Plaintiff,

on behalf of himself and a class of similarly situated individuals, brings suit under the TCPA, 47

U.S.C. § 227, et seq., which prohibits certain unsolicited voice and text calls to cell phones.

       37.     On behalf of the Plaintiff Class, Plaintiff seeks an injunction requiring Defendant

to cease all illegal telemarketing and spam activities and an award of statutory damages to the class

members, together with costs and reasonable attorneys’ fees.




PLAINTIFF’S ORIGINAL COMPLAINT                                                           PAGE 9 OF 19
     Case 4:18-cv-01827 Document 4 Filed in TXSD on 06/06/18 Page 10 of 19



                                            STANDING

        38.     Plaintiff has standing to bring this suit on behalf of himself and the members of the

class under Article III of the United States Constitution because Plaintiff’s claims states: (a) a valid

injury in fact; (b) an injury which is traceable to the conduct of Defendant; and (c) is likely to be

redressed by a favorable judicial decision. See Spokeo v. Robins, 578 U.S. __ (2016) at 6; Lujan v.

Defenders of Wildlife, 504 U.S. 555, 560 (1992).

A.      INJURY IN FACT

        39.     Plaintiff has standing to bring this suit on behalf of himself and the members of the

class under Article III of the United States Constitution because Plaintiff’s claims states: (a) a valid

injury in fact; (b) an injury which is traceable to the conduct of Defendant; and (c) is likely to be

redressed by a favorable judicial decision. See Spokeo v. Robins, 578 U.S. __ (2016) at 6; Robins

v. Spokeo, 867 F.3d 1108 (9th Cir. 2017) (cert denied. 2018 WL 491554, U.S., Jan. 22 2018);

Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992); and Chen v. Allstate Inc. Co., 819 F.3d

1136 (9th Cir. 2016).

        40.     Plaintiff’s injury must be both “concrete” and “particularized” in order to satisfy

the requirements of Article III of the Constitution. (Id.)

        41.     For an injury to be concrete it must be a de facto injury, meaning it actually exists.

In the present case, Plaintiff took the affirmative step of enrolling himself on the National Do-Not-

Call Registry for the purpose of preventing marketing calls to his telephone. Such telemarketing

calls are a nuisance, an invasion of privacy, and an expense to Plaintiffs. See Soppet v. enhanced

Recovery Co., LLC, 679 F.3d 637, 638 (7th Cir. 2012). All three of these injuries are present in

this case. (See also Chen v. Allstate Inc. Co., 819 F.3d 1136 (9th Cir. 2016).)

        42.     Furthermore, the Third Circuit recently stated, Congress found that “[u]nsolicited


PLAINTIFF’S ORIGINAL COMPLAINT                                                            PAGE 10 OF 19
     Case 4:18-cv-01827 Document 4 Filed in TXSD on 06/06/18 Page 11 of 19



telemarketing phone calls or text messages, by their nature, invade the privacy and disturb the

solitude of their recipients,” Van Patten, 847 F.3d at 1043, and sought to protect the same interests

implicated in the traditional common law cause of action. Put differently, Congress was not

inventing a new theory of injury when it enacted the TCPA. Rather, it elevated a harm that, while

“previously inadequate in law,” was of the same character of previously existing “legally

cognizable injuries.” Spokeo, 136 S.Ct. at 1549. Spokeo addressed, and approved, such a choice

by Congress. Susinno v. Work Out World Inc., No. 16-3277, 2017 WL 2925432, at *4 (3d Cir.

July 10, 2017).

         43.    For an injury to be particularized means that the injury must affect the plaintiff in a

personal and individual way. See Spokeo at 7. Furthermore, Plaintiffs are the individuals who pay

for the phone, and are the regular carrier and user of the phone. All of these injuries are particular

to Plaintiff.

B.        TRACEABLE TO THE CONDUCT OF EACH SEPARATE DEFENDANT

         44.    Plaintiff must allege at the pleading stage of the case facts to show that their injury

is traceable to the conduct of Defendant. In this case, Plaintiff satisfies this requirement by alleging

that Defendant, and/or agent of Defendant on behalf of Defendant, placed illegal calls to Plaintiff’s

phone.

         45.    In the instant case, Defendant placed multiple unwanted calls to Plaintiff’s

wireless/cellular phone in 2016.

C.       INJURY LIKELY TO BE REDRESSED BY A FAVORABLE JUDICIAL OPINION

         46.    The third prong to establish standing at the pleadings phase requires Plaintiff to

allege facts to show that the injury is likely to be redressed by a favorable judicial opinion. In the

present case, Plaintiff’s Prayer for Relief includes a request for damages for each call made by


PLAINTIFF’S ORIGINAL COMPLAINT                                                            PAGE 11 OF 19
         Case 4:18-cv-01827 Document 4 Filed in TXSD on 06/06/18 Page 12 of 19



Defendant, as authorized by statute in 47 U.S.C. § 227. The statutory damages were set by

Congress and specifically redress the financial damages suffered by Plaintiff and the members of

the putative class. Furthermore, Plaintiff’s Prayer for Relief requests injunctive relief to restrain

Defendant from the alleged abusive practices in the future. The award of monetary damages and

the order for injunctive relief redress the injuries of the past, and prevent further injury in the

future.

          47.      Because all standing requirements of Article III of the U.S. Constitution have been

met, as laid out in Spokeo, Inc. v. Robins, 578 U.S. ___ (2016) and in the context of a TCPA claim,

as explained by the Ninth Circuit in Chen v. Allstate Inc. Co., 819 F.3d 1136 (9th Cir. 2016),

Plaintiff has standing to sue Defendant on the stated claims.

                                  CLASS ACTION ALLEGATIONS

A.        CLASS ALLEGATIONS

          48.      Plaintiff brings this action pursuant to Federal Rule of Civil Procedure 23(a), (b)(2),

and (b)(3) on behalf of themselves and the following class defined as follows (the “Classes”):

                “DNC2 Class”: All individuals in the United States who: (1) received more
                than one telephone call made by or on behalf of Quicken Loans within a 12-
                month period; (2) to a telephone number that had been registered with the
                National Do Not Call Registry for at least 30 days; and (3) for whom
                Defendant has no record of consent to place such calls.

          49.      The following individuals are excluded from the Classes: (1) any Judge or

Magistrate presiding over this action and members of their families; (2) Defendant, Defendant’s

subsidiaries, parents, successors, predecessors, and any entity in which Defendant or its parents

have a controlling interest, and its current or former employees, officers, and directors; (3)



     2
     “DNC” referenced herein refers to the National Do Not Call Registry, established pursuant to 47
U.S.C. 227(c) and the regulations promulgated by the Federal Communications Commission (“FCC”).

PLAINTIFF’S ORIGINAL COMPLAINT                                                              PAGE 12 OF 19
     Case 4:18-cv-01827 Document 4 Filed in TXSD on 06/06/18 Page 13 of 19



Plaintiff’s counsel and Defendant’s counsel; (4) persons who properly execute and file a timely

request for exclusion from the Class; (5) the legal representatives, successors or assigns of any

such excluded persons; and (6) persons whose claims against Defendant have been fully and finally

adjudicated and/or released.

        50.     This suit seeks only damages, statutory penalties, and injunctive relief for recovery

of economic injury on behalf of the Classes, and it expressly is not intended to request any recovery

for personal injury and claims related thereto.

        51.     Plaintiff reserves the right to expand the Class definitions to seek recovery on behalf

of additional persons as warranted as facts are learned in further investigation and discovery.

        52.     Plaintiff and members of the Classes were harmed by Defendant’s acts in at least

the following ways: Defendant, either directly or through agents, illegally contacted Plaintiff and

the Class members via their telephones, after Plaintiff and the Class members took the affirmative

step of registering their numbers on the DNC, and/or contacted Plaintiffs and members of the

Classes using a pre-recorded voice for telemarketing purposes without first obtaining prior express

consent.

B.      NUMEROSITY

        53.     The exact size of the Classes is unknown and not available to Plaintiffs at this time,

but it is clear individual joinder is impracticable.

        54.     On information and belief, Defendant made telephone calls to thousands of

consumers who fall into the definition of the Classes. Members of the Classes can be easily

identified through Defendant’ records.

C.      COMMONALITY AND PREDOMINANCE

        55.     There are many questions of law and fact common to the claims of Plaintiff and the


PLAINTIFF’S ORIGINAL COMPLAINT                                                           PAGE 13 OF 19
     Case 4:18-cv-01827 Document 4 Filed in TXSD on 06/06/18 Page 14 of 19



Classes, and those questions predominate over any questions that may affect individual members

of the Classes.

       56.        Common questions for the Classes include, but are not necessarily limited to the

following:

                  (a)    Whether Defendant’s conduct violated the TCPA;

                  (b)    Whether Defendant systematically made telephone calls to consumers who

                         did not previously provide Defendant and/or their agents with prior express

                         written consent to receive such phone calls after October 16, 2013;

                  (c)    Whether Defendant systematically made telephone calls to consumers

                         whose telephone numbers were registered with the National Do Not Call

                         Registry;

                  (d)    Whether Defendant and/or its agents systematically made telephone calls to

                         consumers using a pre-recorded voice, not for emergency purposes, and

                         without prior express consent of the consumers.

                  (e)    Whether members of the Classes are entitled to treble damages based on the

                         willfulness of Defendant’s conduct;

                  (f)    Whether Defendant and its agents should be enjoined from engaging in such

                         conduct in the future.

D.     TYPICALITY

       57.        Plaintiff’s claims are typical of the claims of the other members of the Classes.

       58.        Plaintiff and the Classes sustained damages as a result of Defendant’s uniform

wrongful conduct during transactions with Plaintiffs and the Classes.




PLAINTIFF’S ORIGINAL COMPLAINT                                                           PAGE 14 OF 19
     Case 4:18-cv-01827 Document 4 Filed in TXSD on 06/06/18 Page 15 of 19



E.     ADEQUATE REPRESENTATION

       59.     Plaintiff will fairly and adequately represent and protect the interests of the Classes,

and has retained counsel competent and experienced in complex class actions.

       60.     Plaintiff has no interest antagonistic to those of the Classes, and Defendant has no

defenses unique to Plaintiff.

F.     POLICIES GENERALLY APPLICABLE TO THE CLASSES

       61.     This class action is appropriate for certification because the Defendant has acted or

refused to act on grounds generally applicable to the Classes as a whole, thereby requiring the

Court’s imposition of uniform relief to ensure compatible standards of conduct toward the Classes

members, and making final injunctive relief appropriate with respect to the Classes as a whole.

       62.     Defendant’s practices challenged herein apply to and affect the Classes’ members

uniformly, and Plaintiff’s challenge of those practices hinges on Defendant’s conduct with respect

to the Classes as a whole, not on facts or law applicable only to Plaintiff.

G.     SUPERIORITY

       63.     This case is also appropriate for class certification because class proceedings are

superior to all other available methods for the fair and efficient adjudication of this controversy

given that joinder of all parties is impracticable.

       64.     The damages suffered by the individual members of the Classes will likely be

relatively small, especially given the burden and expense of individual prosecution of the complex

litigation necessitated by Defendant’s actions.

       65.     Thus, it would be virtually impossible for the individual members of the Class to

obtain effective relief from Defendant’s misconduct.

       66.     Even if members of the Classes could sustain such individual litigation, it would


PLAINTIFF’S ORIGINAL COMPLAINT                                                           PAGE 15 OF 19
     Case 4:18-cv-01827 Document 4 Filed in TXSD on 06/06/18 Page 16 of 19



still not be preferable to a class action, because individual litigation would increase the delay and

expense to all parties due to the complex legal and factual controversies presented in this

Complaint.

       67.     By contrast, a class action presents far fewer management difficulties and provides

the benefits of single adjudication, economy of scale, and comprehensive supervision by a single

court. Economies of time, effort and expense will be fostered, and uniformity of decisions ensured.

                                 FIRST CAUSE OF ACTION
                              VIOLATION OF TCPA, 47 U.S.C. § 227
                                       (“DNC Claim”)

       68.     Plaintiff re-alleges and incorporates by reference each preceding paragraph as

though set forth at length herein.

       69.     47 U.S.C. § 227(c) provides that any “person who has received more than one

telephone call within any 12-month period by or on behalf of the same entity in violation of the

regulations prescribed under this subsection may” bring a private action based on a violation of

said regulations, which were promulgated to protect telephone subscribers’ privacy rights to avoid

receiving telephone solicitations to which they object.

       70.     The TCPA’s implementing regulation—47 C.F.R. § 64.1200(c)—provides that

“[n]o person or entity shall initiate any telephone solicitation” to “[a] residential telephone

subscriber who has registered his or her telephone number on the national do-not-call registry of

persons who do not wish to receive telephone solicitations that is maintained by the federal

government.” See 47 C.F.R. § 64.1200(c).

       71.     47 C.F.R. § 64.1200(e), provides that 47 C.F.R. §§ 64.1200(c) and (d) “are

applicable to any person or entity making telephone solicitations or telemarketing calls to wireless

telephone numbers to the extent described in the Commission’s Report and Order, CG Docket No.


PLAINTIFF’S ORIGINAL COMPLAINT                                                         PAGE 16 OF 19
     Case 4:18-cv-01827 Document 4 Filed in TXSD on 06/06/18 Page 17 of 19



02-278, FCC 03-153, ‘Rules and Regulations Implementing the Telephone Consumer Protection

Act of 1991,’” which the Report and Order, in turn, provides as follows:

       The Commission’s rules provide that companies making telephone solicitations to
       residential telephone subscribers must comply with time of day restrictions and
       must institute procedures for maintaining do-not-call lists. For the reasons
       described above, we conclude that these rules apply to calls made to wireless
       telephone numbers. We believe that wireless subscribers should be afforded the
       same protections as wireline subscribers.

       72.     Defendant violated 47 C.F.R. § 64.1200(c) by initiating, or causing to be initiated,

telephone solicitations to wireless and residential telephone subscribers such as Plaintiff and the

DNC Class members who registered their respective telephone numbers on the National Do Not

Call Registry, a listing of persons who do not wish to receive telephone solicitations that is

maintained by the federal government. These consumers requested to not receive calls from

Defendant, as set forth in 47 C.F.R. § 64.1200(d)(3).

       73.     Defendant made more than one unsolicited telephone call to Plaintiff and members

of the Class within a 12-month period without their prior express consent to place such calls.

Plaintiffs and members of the DNC Class never provided any form of consent to receive telephone

calls from Defendant.

       74.     Defendant violated 47 C.F.R. § 64.1200(d) by initiating calls for telemarketing

purposes to residential and wireless telephone subscribers, such as Plaintiff and the DNC Class,

without instituting procedures that comply with the regulatory minimum standards for maintaining

a list of persons who request not to receive telemarketing calls from them.

       75.     Defendant violated 47 U.S.C. § 227(c)(5) because Plaintiff and the DNC Class

members received more than one telephone call in a 12-month period made by or on behalf of

Defendant in violation of 47 C.F.R. § 64.1200, as described above. As a result of Defendant’s

conduct as alleged herein, Plaintiff and the DNC Class suffered actual damages and, under section

PLAINTIFF’S ORIGINAL COMPLAINT                                                        PAGE 17 OF 19
      Case 4:18-cv-01827 Document 4 Filed in TXSD on 06/06/18 Page 18 of 19



47 U.S.C. § 227(c), are each entitled, inter alia, to receive up to $500 in damages for such

violations of 47 C.F.R. § 64.1200.

          76.    To the extent Defendant’s misconduct is determined to be willful and knowing, the

Court should, pursuant to 47 U.S.C. § 227(c)(5), treble the amount of statutory damages

recoverable by the members of the Class.

                                         ATTORNEY’S FEES

          77.    Each and every allegation contained in the foregoing paragraphs is re-alleged as if

fully rewritten herein.

          78.    Plaintiff is entitled to recover reasonable attorney fees under Rule 23 of the Federal

Rules of Civil Procedure, and requests the attorneys’ fees be awarded.

                                           JURY DEMAND

          79.    Plaintiff, individually and on behalf of the Class, demands a jury trial on all issues

triable to a jury.

                                       PRAYER FOR RELIEF

          WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for the following

relief:

                 (a)      An order certifying the DNC Class as defined above, appointing Plaintiff as

                          the representative of the Class, and appointing his counsel, HUGHES

                          ELLZEY, LLP as lead Class Counsel;

                 (b)      An order certifying the Artificial and Pre-Recorded Voice Class as defined

                          above, appointing Plaintiff as the representative of the Class, and appointing

                          his counsel, HUGHES ELLZEY, LLP as lead Class Counsel;

                 (c)      An award of actual and statutory damages for each and every negligent


PLAINTIFF’S ORIGINAL COMPLAINT                                                            PAGE 18 OF 19
     Case 4:18-cv-01827 Document 4 Filed in TXSD on 06/06/18 Page 19 of 19



                      violation to each member of the Classes pursuant to 47 U.S.C. §

                      227(b)(3)(B);

              (d)     An award of actual and statutory damages for each and every knowing

                      and/or willful violation to each member of the Classes pursuant to 47 U.S.C

                      § 227(b)(3)(B);

              (e)     An injunction requiring Defendant and Defendant’s agents to cease all

                      unsolicited telephone calling activities, and otherwise protecting the

                      interests of the Class, pursuant to 47 U.S.C. § 227(b)(3)(A);

              (f)     Pre-judgment and post-judgment interest on monetary relief;

              (g)     An award of reasonable attorneys’ fees and court costs; and

              (h)     All other and further relief as the Court deems necessary, just, and proper.




Dated: June 6, 2018                                 Respectfully submitted,

                                                    HUGHES ELLZEY, LLP

                                                          /s/ Jarrett Ellzey
                                                    W. Craft Hughes
                                                    USDC SDTX Bar No. 566470
                                                    craft@hughesellzey.com

                                                OF COUNSEL:

                                                    Jarrett L. Ellzey
                                                    USDC SDTX Bar No. 37369
                                                    jarrett@hughesellzey.com
                                                    HUGHES ELLZEY, LLP
                                                    Galleria Tower I
                                                    2700 Post Oak Boulevard, Suite 1120
                                                    Houston, TX 77056
                                                    Tel: (713) 554-2377
                                                    Fax: (888) 995-3335


PLAINTIFF’S ORIGINAL COMPLAINT                                                        PAGE 19 OF 19
